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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

------------------------------- x
DONGGUK UNIVERSITY,             : No. 3:08-CV-00441 (TLM)
                                :
          Plaintiff,            :
                                :
     v.                         :
                                :
YALE UNIVERSITY,                :
                                :
          Defendant.            : SEPTEMBER 16, 2011
------------------------------- x

  MOTION TO STRIKE LOCAL RULE 56(a)1 COUNTER-STATEMENT OF FACTS

       Pursuant to Fed. R. Civ. P. 12(f), Defendant Yale University respectfully moves to strike

Plaintiff Dongguk University’s Local Rule 56(a)1 Counter-Statement of Facts.



                                         DEFENDANT YALE UNIVERSITY

                                         By:         /s/ Howard Fetner
                                                 Felix J. Springer (#ct05700)
                                                 Howard Fetner (#ct26870)
                                                 Day Pitney LLP
                                                 242 Trumbull Street
                                                 Hartford, CT 06103
                                                 (860) 275-0100 (phone)
                                                 (860) 275-0343 (fax)
                                                 fjspringer@daypitney.com
                                                 hfetner@daypitney.com

                                                 Its attorneys




ORAL ARGUMENT NOT REQUESTED
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                                        CERTIFICATION

        I hereby certify that on September 16, 2011, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.




                                                          /s/ Howard Fetner




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